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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                Civil Action No. 4:22-cv-249-ALM

DIVYA GADASALLI,
         Plaintiff,
v.
JERRY BULASA, ET AL.
      Defendants.
________________________________________/

                                JOINT CONFERENCE REPORT

         Pursuant to this Court’s May 24, 2022 Order requiring a joint report [Docket Entry No.

(“DE”) 25] and Federal Rule of Civil Procedure 26(f), and pursuant to conferences held between

counsel for Plaintiff Divya Gadasalli (“Plaintiff”) and Defendant Binance Holdings, Ltd.

(“Binance”),1 Plaintiff and Binance have agreed on the following statement of the case, dates,

discovery plan, and case management; and submit the following Joint Scheduling Report and Joint

Discovery Report.

                              PLAIN STATEMENT OF THE CASE

         In this case, Plaintiff is alleging a fraudulent scheme by Defendant Jerry Bulasa and others

to steal from Plaintiff over Eight Million Dollars ($8,000,000.00) worth of cryptocurrency.

Plaintiff wired hundreds of thousands of dollars to accounts at TD Bank and Abacus Bank with

the understanding that Bulasa would use those funds to purchase cryptocurrency on Plaintiff’s

behalf. Those funds were then transferred to an account at cryptocurrency exchange Coinbase and

used to purchase the cryptocurrency Tether, which was then transferred to an investment account




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  Binance files this Joint Conference Report subject to its motion to dismiss, DE 32. By filing this
report, Binance does not waive its argument that there is no jurisdiction over Binance.


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at a fake cryptocurrency exchange called Digital Fund.          Plaintiff alleges that some of the

cryptocurrency owed to her ended up in accounts at Binance (among other cryptocurrency

exchanges).

                                    JURISDICTIONAL BASIS

         As reflected in its motion to dismiss the Amended Complaint (DE 32), Binance contends

that the Court lacks personal jurisdiction over it. Binance is a foreign company incorporated in

the Cayman Islands and is not “at home” in Texas for purposes of general jurisdiction.

Additionally, the alleged harm to Plaintiff is not “inextricably entwined” with a general course of

business activity by Binance in Texas as required to establish specific jurisdiction. Plaintiff

disagrees with Binance’s contentions and will oppose the motion.

         Additionally, as noted below, Plaintiff believes a limited round of jurisdictional discovery

would be appropriate, if not required, for the Court to properly evaluate the propriety of exercising

personal jurisdiction over Binance. Binance disagrees with that position and would oppose

jurisdictional discovery in light of publicly available and undisputed facts.

             THE LIKELIHOOD OF APPEARANCE OF ADDITIONAL PARTIES

         The parties are not aware of any additional parties who might be joined.

                                  RELATED CASES PENDING

         None.

                                    INITIAL DISCLOSURES

         Plaintiff and Binance have made the required initial disclosures pursuant to the May 24,

2022 Order and Fed.R.Civ.P. 26(a)(1).

                      PROPOSED CASE MANAGEMENT DEADLINES

         The Parties have attached hereto a proposed Scheduling Order that sets forth relevant

pretrial case management deadlines.


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                                          DISCOVERY ISSUES

         The Parties will work with one another in good faith to resolve all issues relating to

discovery. The Parties also expect to work cooperatively to minimize burdensome, duplicative, or

unnecessary discovery. As discussed above, Binance has a pending motion to dismiss for lack of

personal jurisdiction under Fed.R.Civ.P. 12(b) (DE 32); and Plaintiff contends that a limited round

of jurisdictional discovery would be appropriate, if not required, for the Court to properly evaluate

the propriety of exercising personal jurisdiction over Binance. Binance disagrees with that

contention and does not think jurisdictional discovery is necessary or appropriate in light of

publicly available and undisputed facts. If requested by the Court, the parties will brief the issue

to further explain their respective positions on the issue.

         Because jurisdiction is a threshold issue in this matter, the Parties agree and respectfully

request that all deadlines relating to discovery (7(i-v) of the May 24 Order) be postponed until

after this Court rules on jurisdiction.

                             THE LIKELIHOOD OF SETTLEMENT

         The Parties are in active settlement discussions. It is too early to assess the likelihood of

settlement.

                 THE IDENTITY OF PERSONS EXPECTED TO BE DEPOSED

         Should the case proceed to discovery, persons to be deposed will include Plaintiff Divya

Gadasalli and Defendant Jerry Bulasa.

          A PRELIMINARY ESTIMATE OF THE TIME REQUIRED FOR TRIAL

         The Parties expect that this case will require three (3) days for a trial before a jury.

                                     NAMES OF ATTORNEYS

         At the Case Management Conference, Plaintiff will be represented by David C. Silver of




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Silver Miller, and Binance will be represented by Karen R. King of Morvillo Abramowitz Grand

Iason & Anello P.C..

                            CONSENT TO A MAGISTRATE JUDGE

         The Parties do not consent to a trial before a magistrate judge.



Dated: June 29, 2022


                                       Respectfully submitted,

  /s/ David C. Silver                            /s/ Santosh Aravind
 David C. Silver, Esq.                          Santosh Aravind, Esq.
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                                                E-mail:       kking@maglaw.com
                                                Counsel for Defendant Binance Holdings, Ltd.




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
of Court on this 29th day of June 2022 by using the CM/ECF system and that a true and correct
copy will be served via electronic mail to David C. Silver, Esq., SILVER MILLER, Counsel for
Plaintiff Divya Gadasalli, 4450 NW 126th Avenue - Suite 101, Coral Springs, FL 33065; E-mail:
DSilver@SilverMillerLaw.com.

                                                        /s/ Santosh Aravind
                                                       Santosh Aravind



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